        Case 1:25-cv-00403-DLF           Document 32        Filed 04/21/25       Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



MENNONITE CHURCH USA, et al.,

       Plaintiffs,

       v.
                                                             Civil Action No. 25-CV-00403-DLF
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, et al.,

       Defendants.




                                    JOINT STATUS REPORT

       On April 11, 2025, the Court denied Plaintiffs’ motion for preliminary injunction, see

ECF No. 29. The parties have met and conferred and write to propose a brief continuation of the

current stay of further proceedings.

       The Court’s memorandum opinion denying Plaintiffs’ preliminary-injunction request

found that, “at least on the present record, the plaintiffs have not established a substantial

likelihood of Article III standing.” See ECF No. 30, Mem. Op., at 17. Plaintiffs continue to

evaluate appropriate next steps for this litigation, including potentially proffering additional

evidence in support of their standing. The parties are in agreement that both judicial and party

efficiency is best served by continuing to stay these proceedings, including Defendants’

obligation to respond to Plaintiffs’ complaint, while Plaintiffs decide how to proceed.

Accordingly, the parties propose that a further Joint Status Report be due in 3 weeks, Monday,
        Case 1:25-cv-00403-DLF           Document 32         Filed 04/21/25         Page 2 of 2




May 12, at which time the parties will propose a schedule for further proceedings. The parties

thus respectfully request that the current stay remain in effect until that time.


Dated: April 21, 2025                          Respectfully submitted,


                                               /s/ Kate Talmor
                                               Kelsi Brown Corkran (Bar No. 501157)
                                               Shelby B. Calambokidis (Bar No. 1684804)
                                               Julia Gegenheimer* (NY Bar No. 4949475)
                                               Alexandra Lichtenstein (Bar No. 1724947)
                                               Kate Talmor* (Maryland Bar)
                                               INSTITUTE FOR CONSTITUTIONAL ADVOCACY
                                                   AND PROTECTION
                                               600 New Jersey Avenue, NW
                                               Washington, DC 20001
                                               (202) 661-6728

                                               Attorneys for Plaintiffs

                                               YAAKOV M. ROTH
                                               Acting Deputy Assistant Attorney General

                                               ALEXANDER K. HAAS
                                               Branch Director

                                               ANDREW I. WARDEN
                                               Assistant Branch Director

                                               /s/ Kristina A. Wolfe
                                               KRISTINA A. WOLFE (VA Bar No. 71570)
                                               Senior Trial Counsel
                                               United States Department of Justice
                                               Civil Division
                                               Federal Programs Branch
                                               1100 L Street, NW
                                               Washington, D.C. 20530
                                               Tel: 202-353-4519
                                               Fax: 202-616-8470
                                               Email: Kristina.Wolfe@usdoj.gov


*DC Bar application pending, practice pursuant to Rule 49(c)(8), DC Courts, and supervised by
DC Bar member

                                                  2
